                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR05-4085-MWB
 vs.                                       ORDER ACCEPTING MAGISTRATE
                                                 JUDGE’S REPORT AND
 LENARD MORRIS,                            RECOMMENDATION REGARDING
                                               DEFENDANT’S MOTION TO
               Defendant.                     SUPPRESS AND MOTION FOR
                                              CIVIL RIGHTS COMPLAINT
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
        On July 12, 2005, an indictment was returned against defendant Lenard Morris,
charging defendant with conspiring to distribute 50 grams or more of crack cocaine, in
violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846. Defendant Morris has filed
a Motion To Suppress (#35) and a pro se Motion For Civil Rights Complaint (#40).
Defendant Morris’s motions arise out of the search and seizure of evidence from the
automobile he was driving. In his Motion To Suppress, defendant Morris asserts that the
police did not have probable cause to stop him and search the automobile he was driving.
In his pro se Motion For Civil Rights Complaint, defendant Morris asserts that the stop
of the automobile he was driving and his subsequent arrest were motivated by racial bias.
Defendant Morris’s motions were referred to United States Magistrate Judge Paul A. Zoss,
pursuant to 28 U.S.C. § 636(b). On November 16, 2005, an evidentiary hearing was held.
On November 17, 2005, Judge Zoss filed a Report and Recommendation in which he
recommends that defendant Morris’s motions be denied. Judge Zoss concluded that there
was no evidence to support defendant Morris’s claim that racial profiling played a part in



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his arrest. Judge Zoss, therefore, recommended that defendant Morris’s pro se Motion
For Civil Rights Complaint be denied. Judge Zoss also concluded, viewing the totality of
the circumstances, that the police had probable cause to stop and arrest Morris and to
search the trunk of the automobile he was driving.           Therefore, Judge Zoss also
recommended that defendant Morris’s Motion To Suppress be denied.              Neither the
government nor defendant Morris has filed objections to Judge Zoss’s Report and
Recommendation.


                                II. LEGAL ANALYSIS
      Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.

FED. R. CIV. P. 72(b). The Eighth Circuit Court of Appeals has repeatedly held that it is

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reversible error for the district court to fail to conduct a de novo review of a magistrate
judge’s report where such review is required. See, e.g., Hosna v. Groose, 80 F.3d 298,
306 (8th Cir.) (citing 28 U.S.C. § 636(b)(1)), cert. denied, 519 U.S. 860 (1996); Grinder
v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (citing Belk v. Purkett, 15 F.3d 803, 815
(8th Cir. 1994)); Hudson v. Gammon, 46 F.3d 785, 786 (8th Cir. 1995) (also citing Belk).
       As the court noted above, no party has filed an objection to Judge Zoss’s Report and
Recommendation, and it appears to the court upon review of Judge Zoss’s findings and
conclusions, that there is no ground to reject or modify them. Therefore, the court accepts
Judge Zoss’s Report and Recommendation of November 17, 2005, and orders that
defendant Morris’s Motion To Suppress and pro se Motion For Civil Rights Complaint are
denied.
       IT IS SO ORDERED.
       DATED this 6th day of December, 2005.


                                                 __________________________________
                                                 MARK W. BENNETT
                                                 CHIEF JUDGE, U. S. DISTRICT COURT
                                                 NORTHERN DISTRICT OF IOWA




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